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AO 451 {Rev. 12/12} Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of New York

CASA EXPRESS CORP, as Trustee of
CASA EXPRESS TRUST
Plaintiff
Vv

BOLIVIARIAN REPUBLIC OF VENEZUELA
Defendant

Civil Action No, 18 Civ.11940

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CLERE’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

[also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: S|fooa

CLERK OF COURT

of Mane

Signature of Clerk-ov-DepusClerk

 
